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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:14-CR-00331                               Recorder: Kathy Stride                                 Date: 07/10/2014

Present: The Honorable Frederick F. Mumm, U.S. Magistrate Judge

Court Clerk: James R. Munoz II                                          Assistant U.S. Attorney: Edward Alon

United States of America v.                Attorney Present for Defendant(s)                  Language                 Interpreter
GILBERT MYERS, JR., aka Jr Myers           MARISOL ORIHUELA
     CUSTODY-PRESENT                            DFPD


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge Dean D. Pregerson.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 9/2/2014 at 9:00 AM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.




                                                                                              First Appearance/Appointment of Counsel: 00 : 00
                                                                                                                                   PIA: 00 : 03
                                                                                                       Initials of Deputy Clerk: JRM II by TRB
cc: Statistics Clerk, PSALA USMLA




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